         Case 3:12-cv-02265-SI          Document 467         Filed 09/26/24   Page 1 of 4




 Juan C. Chavez, OSB #136428
 Email: j chavez@ojrc.info
 Amanda Lamb, OSB #222284
 Email: alamb@ojrc.info
 Oregon Justice Resource Center
 PO Box 5248
 Portland, OR 97208
 Telephone: 503-944-2270
 Facsimile: 971-275-1839

        Attorneys for Amicus Curiae Mental Health Alliance




                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                   PORTLAND DIVISION

UNITED STATES OF AMERICA                          Case No. 3:12-cv-02265-SI

                Plaintiff,

       vs.                                        DECLARATION OF JASON RENAUD

CITY OF PORTLAND,

                Defendant.




        I, Jason Renaud, submit the following declaration:

        I am a member of the Mental Health Alliance, and I make this declaration in support of

our Response Brief to City's Motion for Reconsideration for the purpose of providing factual

background to MHA's brief, and identify exhibits. My statements are true to the best of my own

knowledge, except as to those matters which are therein alleged on information and belief, and as

to those matters, I believe them to be true.



DECLARATION OF JASON RENAUD
Page I of 4
          Case 3:12-cv-02265-SI               Document 467            Filed 09/26/24          Page 2 of 4




      I. I have been a member of the Mental Health Alliance since 2018, when it first formed to

 seek amicus status in the above-captioned case. I have been a noted advocate for a new

 community oversight system, as embodied in Ballot Measure 26-217, and was appointed a

 member of the Police Accountability Commission ("PAC") for some period of its work. I am

 writing this declaration to assist the court by providing a timeline of events regarding the PAC,

 Settlement Agreement Paragraph 195, and the formation of the new Community Board for Police

Accountability ("CBP A").

     2. On July 30th, 2020 the Portland City Council voted to refer a Charter Amendment to the

voters of Portland that would authorize the creation of a new police oversight system.

     3. On September 8, 2020, Measure 26-217 was filed. See Chavez Dec. Exhibit 1.

     4. On November 3, 2020, Measure 26-217 was approved by 82% of Portland voters.

     5. On December 16, 2020, Measure 26-217 was adopted and effectuated by Portland City

Council. See Resolution No. 37527. Id. at Exhibit 2.

     6. On February 2021, Applications for Police Accountability Commission (PAC) members

closed.

     7. Brian Hunzeker, president of the Portland Police Association, accused the city of

misleading voters on a ballot measure approved last year that calls for creating an independent

civilian police oversight board. 1

    8. In July 2021, PAC members were first contacted by city staff.

    9. In November 2021, the City hired staff to assist PAC.




1 https://www.wweek.com/news/city/2020/l    l/05/portland-police-union-files-a-grievance-against-the-city-
challenging-reforrn-measure-that-voters-passed-overwhelmingly/

DECLARATION OF JASON RENAUD
Page 2 of 4
        Case 3:12-cv-02265-SI          Document 467         Filed 09/26/24      Page 3 of 4




     10. In November 2021, MHA met with City staff, counsels for the Defendant City of

 Portland, and counsels for the Plaintiff United States to express concerns about the lengthy delay

 between the adoption of Resolution No. 37527 and the start of PAC's work.

     11. In December 2021, PAC members were finally seated and convened their first meeting.

No governance rules were made available, so members were required to determine and write

their own bylaws, which delayed proceedings for several weeks.

    12. On January 26, 2022, in then-Portland City Auditor Mary Hull Caballero's office's 2022-

2023 proposed budget, the Auditor announced her office's intention to move the Independent

Police Review ("IPR")out of the Auditor's office. Auditor Hull Caballero stated her concern that

IPR would not survive the transition to the new oversight board. "Council has rejected several

proposals from the Auditor to stabilize Independent Police Review during the transition years

and has not offered a viable plan of its own." The Auditor also stated that the then current

estimate was that the CBPA would not be "operational before December 2026." Id. at Exhibit 3.

    I 3. For the bulk of 2022, PAC members separated into committees and received extensive

online training about city rules and suggestions for public meetings and records.

    14. In late 2022 and through 2023, PAC members began to meet with stakeholders and

accumulate recommendations.

    15. In August 2023, after 2000 hours of meetings, the PAC completed its recommendations.

    16. In September 2023, PAC presented its recommendations to City Council, who did not

take immediate action on adopting the recommendations. At this hearing, City Council members

expressed their displeasure that the police did not have a greater say on the board, and also

pushed for a requirement of "ride a longs" with police officers.




DECLARATION OF JASON RENAUD
Page 3 of 4
        Case 3:12-cv-02265-SI          Document 467        Filed 09/26/24       Page 4 of 4




    17. In November 2023, the City attorney presents a second set of recommendations that

incorporated City Council's demand for more police power on the CBPA. City Council voted to

accept these recommendations.

    18. By May 2024 when the parties convened for a status conference in this case, the City had

yet to present a code change to the Plaintiff United States, despite time lines for doing so having

elapsed. The City had been bargaining with the PP A throughout this time period.

   19. As raised in MHA and AMAC's joint status report on ,r195, during this time PPA had

also been seeking signatures to place a counter ballot measure designed to undermine the CBP A.

   20. We did not return to the Court for a fairness hearing on the CBPA code change until

August 2024, just over two months away from a consequential election that will change the face

of Portland City governance.

       I hereby declare that above statement is true to the best of my knowledge and belief,

       and that I understand it is made for use as evidence in court and is subject to

       penalty for perjury.

       DA TED: September 26, 2024


                                                    Jason'Renaud
                                                   Jason Renaud (Sep 26, 2024 10:15 PDT}




DECLARATION OF JASON RENAUD
Page 4 of 4
